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                                                         13   DNF ASSOCIATES, LLC
                                                         14
                                                                                   UNITED STATES DISTRICT COURT
                                                         15
                                                                                SOUTHERN DISTRICT OF CALIFORNIA
                                                         16

                                                         17   JUAN PAVLOVICH, individually                  CASE NO. 17-cv-412-AJB-KSC
                                                              and on behalf of others similarly
                                                         18   situated,
                                                         19                  Plaintiff,                     NOTICE OF MOTION AND MOTION
                                                                                                            BY DEFENDANT ACCOUNT
                                                         20         v.                                      DISCOVERY SYSTEMS, LLC FOR
                                                                                                            SUMMARY JUDGMENT PURSUANT
                                                         21   ACCOUNT DISOCVERY                             TO FRCP 56
                                                              SYSTEMS, LLC and DNF
                                                         22   ASSOCIATES, LLC                               Hon. Anthony J. Battaglia
                                                         23                  Defendants.                    DATE: January 25, 2018
                                                                                                            TIME: 2:00 PM
                                                         24                                                 CTRM: Courtroom 4A
                                                         25

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                                                                          ACCOUNT DISCOVERY SYSTEMS, LLC’S NOTICE OF MOTION FOR SUMMARY JUDGMENT
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                                                          1         TO PLAINTIFF AND HIS COUNSEL OF RECORD:
                                                          2
                                                                    PLEASE TAKE NOTICE that on January 25, 2018, at 2:00 p.m. or as soon
                                                          3

                                                          4   thereafter as counsel may be heard, in Courtroom 4A of the above-entitled court

                                                          5   located at 221 West Broadway, San Diego, California 92101, Defendant Account
                                                          6
                                                              Discovery Systems, LLC (“ADS”) will and hereby does move for summary
                                                          7

                                                          8   judgment.
LIPPES MATHIAS WEXLER FRIEDMAN LLP




                                                          9         By way of this Motion, ADS asks this Court to order summary judgment in
                                                         10
                                                              favor of ADS on Plaintiff Juan Pavlovich’s (“Plaintiff’) claim that ADS violated the
                                                         11
                                                              Fair Debt Collection Practices Act (“FDCPA”) and the Rosenthal Fair Debt
                                     Buffalo. New York




                                                         12

                                                         13   Collections Practice Act (“RFDCPA”). The record demonstrates that ADS did not
                                                         14
                                                              engage in any deceptive or unfair collection practices and, therefore, ADS has not
                                                         15

                                                         16   violated the FDCPA or RFDCPA as a matter of law. As Plaintiff cannot raise a
                                                         17   genuine issue of material fact to support his claims based on the FDCPA and
                                                         18
                                                              RFDCPA, ADS is entitled to summary judgment.
                                                         19

                                                         20         This motion is based upon this Notice of Motion and Motion, and the
                                                         21
                                                              accompanying Memorandum of Points and Authorities, as well as such other and
                                                         22
                                                              further documentary, demonstrative and oral evidence as may be requested or
                                                         23

                                                         24   permitted by the Court.
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                                                                          ACCOUNT DISCOVERY SYSTEMS, LLC’S NOTICE OF MOTION FOR SUMMARY JUDGMENT
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                                                          1   DATED:       November 27, 2017
                                                          2
                                                                                                  Respectfully submitted,
                                                          3

                                                          4                                       LIPPES MATHIAS WEXLER FRIEDMAN LLP

                                                          5                                       /s Richard M. Scherer Jr.
                                                          6                                       Richard M. Scherer Jr., Esq.
                                                                                                  Admitted Pro Hac Vice
                                                          7                                       Attorneys for Defendant
                                                          8                                       Account Discovery Systems, LLC
LIPPES MATHIAS WEXLER FRIEDMAN LLP




                                                          9

                                                         10                               CERTIFICATE OF SERVICE
                                                         11         I hereby certify that on November 27, 2017, I electronically filed the
                                     Buffalo. New York




                                                         12
                                                              foregoing Notice of Motion and Motion For Summary Judgment via the CM/ECF
                                                         13

                                                         14   system, which should then send notification of such filing to all counsel of record.
                                                         15                                                      /s Richard M. Scherer Jr.
                                                         16                                                      Richard M. Scherer Jr., Esq.
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                                                                           ACCOUNT DISCOVERY SYSTEMS, LLC’S NOTICE OF MOTION FOR SUMMARY JUDGMENT
